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              IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF                   Case No. 1:25-cv-11472
HARVARD COLLEGE,

            Plaintiffs;

      v.

U.S. DEPARTMENT OF
HOMELAND SECURITY, et. al.,

            Defendants.



                               NOTICE OF FILING

     Defendants file the following Notice of Intent to Withdraw that was sent to

Harvard on May 28.
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Dated: May 29, 2025                            Respectfully submitted,

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                         CERTIFICATE OF SERVICE
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      I certify that on May 29, 2025, a true and correct copy of the foregoing

document was electronically filed via the Court’s CM/ECF system which sends

notice of electronic filing to all counsel of record.

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